        Case 4:01-cr-00212-DPM Document 1164 Filed 12/17/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


FONTAINE SHERMAN                                 *
                                                 *
vs.                                              *      No. 4:01CR00212 SWW
                                                 *
UNITED STATES OF AMERICA                         *
                                                 *
                                                 *


                                             Order

       Before the Court is a letter addressed to the Court which the Court directed be filed as a

motion to correct sentence under 28 U.S.C. § 2255. Because defendant previously filed a

petition under § 2255, he must obtain permission from the Court of Appeals before he may file a

second or successive petition. See 28 U.S.C. § 2255(h).

       IT IS THEREFORE ORDERED that the motion to correct sentence [docket entry 1163]

is denied.

       DATED this 17th day of December, 2013.

                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE
